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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF RHODE ISLAND

In re:                                        :
                                              :              B.K. No.: 16-10154
Microfibres, Inc.                             :
       Debtor.                                :
                                              :
JOSEPH M. DIORIO, Chapter 7                   :
Trustee of Microfibres, Inc.,                 :
       Plaintiff                              :
                                              :              Adv. Pro. No.: 18-01024
v.                                            :
                                              :
MONROE STAFFING SERVICES, LLC,                :
       Defendant.                             :

                                STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, made applicable

to these proceedings by Fed.R.Bankr.Pro. 9032, the above matter is dismissed with prejudice, no

interest, no costs.

                                                     Respectfully submitted,

JOSEPH M. DIORIO, Chapter 7 Trustee               MONROE STAFFING SERVICES LLC.
of Microfibres, Inc.                              By its Attorneys,
By his attorneys,

/s/ Amanda M. Perry                               /s/ Charles A. Pisaturo, Jr.
Amanda M. Perry (#9738)                           Charles A. Pisaturo, Jr., Esq. (#4615)
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June 26, 2018
